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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI


 STATE OF MISSOURI, et al.,

                     Plaintiffs,

           v.                                         Case No. 4:21-CV-01329-MTS

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et
 al.,

                     Defendants.


                                       NOTICE OF APPEAL

       Defendants hereby appeal to the United States Court of Appeals for the Eighth Circuit from

this Court’s November 29, 2021 Memorandum and Order, ECF No. 28.


Dated: November 29, 2021                              Respectfully submitted,

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